Case 5:17-cv-05042-JLV Document 150 Filed 05/10/19 Page 1 of 1 PageID #: 1854


 From;           holli lundahl
 To:             Gregory Buzzard
 Subject:        Re: re evidentiary hearing conducted on 4-24-2019 in Bradeen case
 Date:           Wednesday, May 8, 2019 11:49:59 AM


 Furthemiore, I will be emailing all documents to any number of clerks who have not blocked
 my email accoimt as proof of creating the document before the filing date; in spite ofTammy
 Ludeman's previous demands that I do not do so...to avoid any claim in the future that you
 did not receive a document before the required filing date.

 On Wed, May 8, 2019 at 11:23 AM holli lundahl <hollilundahl@gmail.com> wrote:
  As you are aware I demanded criminal procedures be employed for the 4-24-2019
  evidentiary hearing with respect to any improprieties regarding "the copy" of my original
  scanned notice of appeal I sent to the court after I learned that the clerks had conveniently
  lost my original notice of appeal submitted to them. I told you that I would not appear at
  the evidentiary hearing denying me the right to criminal procedures as I believed the
  proceeding'to be a kangaroo court proceeding to avoid liabilities on the part of the
  defendants who committed multiple felony acts that Judge Viken covered up throughout the
  underlying proceeding.

   I just pulled up the pacer docket and saw that you held the hearing anyway. I want to know
  if that hearing was transcribed by a court reporter and want a copy of that transcript AS I
  INTEND ON OPPOSING THE PROCEDURES YOU EMPLOYED - BEFORE THE 8TH
   CIRCUIT COURT OF APPEALS and will also be seeking the assistance ofsome ex US
  attorneys with respect to the way my appeal was handled in this case. I just drew down the
  minutes ofthat proceeding and a copy ofthe exhibit list. Consider this a demand for
  copies of the full exhibits submitted to the court as well as a transcript of the
  proceedings to be sent to this email account forthwith- so that I can assess the ongoing
  constitutional violations committed against me by Judge Viken and forward it to the
  aforesaid ex US attorneys with respect to the apparent efforts by your court to fi-ame me for
  a filing crime -easily orchestrated because Judge Viken prohibited me fi-om electronically
  filing which would have prevented you from framing me for any crime.

  PLEASE COMPLY WITH THIS DEMAND IN THE NEXT 24 HOURS.
